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                   28 U.S.C. 1746 DECLARATION OF CURTIS NELSON


Pursuant to 28 U.S.C. 1746, I hereby declare as follows:
        1.     My name is Otha “Curtis” Nelson, Jr.. I am over twenty-one (21) years of age
        and of sound and disposing mind. I have never been convicted of a felony or a crime
        involving dishonesty or false statement.     I have knowledge of, and am competent to
        testify about, the matters stated in this Affidavit. I am under no legal or other disability.
        The facts stated herein are true and correct to the best of my knowledge and belief.
        2.     I am currently employed as the Assistant Secretary for the Louisiana Office of
        Juvenile Justice (“OJJ”). I have held this position since May 30, 2022. I have over 30
        years of experience working with children and families in various roles, including as an
        adolescent mental health technician, a court appointed special advocate, a parent’s
        attorney in child in need of care proceedings, a child’s defense attorney in delinquency
        and families in need of services proceedings, a juvenile prosecutor for the Nineteenth
        Judicial District Attorney’s Office, and as Deputy Judicial Administrator for the
        Louisiana Supreme Court’s Division of Children and Families.
        3.     I received a Bachelor’s Degree in Psychology with a minor in Sociology from
        Louisiana State University in 1992. I obtained my Juris Doctor from Loyola University
        New Orleans College of Law in 1997.
        4.     I am a member of the Louisiana State Bar Association and National Association
        of Counsel for Children.     I serve as a Child Welfare and Juvenile Justice State and
        National Trainer.   I received the 2012 President’s Award from the Baton Rouge Bar
        Association for Juvenile Justice Work and the 2020 Children’s Law Award from the
        Louisiana State Bar Association
        5.     I am a veteran of the United States Army. I served six years with the Louisiana
        Army National Guard in the Combat Medical Unit and six years with the United States
        Army Reserve in the Theater Support Command and as a Judge Advocate General.
        6.     I have served as a Co-Chair of the Louisiana State Bar Association Children’s
        Law Committee, Co-Chair of the Juvenile Detention Alternatives Initiative Leadership


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        Collaborative, Committee Member of the Louisiana Children Justice Task Force,
        Committee Member of the Governor’s Advisory Board of Juvenile Justice and
        Delinquency Prevention, and Advisory Board Fellow for the Pelican Center for Children
        and Families.
                                 OJJ Operations and Structure
        7.     OJJ is an arm of the Louisiana Department of Public Safety & Corrections
        (“DOC”). OJJ is responsible for the care, custody, security, and treatment of children
        adjudicated delinquent and children of families adjudicated in need of services committed
        to the custody of or placed under the supervision of the OJJ or youth services pursuant to
        the Children’s Code.
        8.     OJJ’s mission to protect the public by providing safe and effective individualized
        services to youth, who will become productive, law-abiding citizens.
        9.     There are three primary levels of care for Youth in the OJJ system: probation and
        parole, non-secure facilities, such as group homes, and secure care facilities.
        10.    OJJ houses certain Youth who have been adjudicated delinquent in secure care
        facilities. A number of factors may cause a Youth to be assigned to a secure care facility,
        but most often the assignment is due to the violent nature of the underlying criminal act
        committed by the Youth, the Youth committing a crime of sexual assault, the Youth’s
        repeated commission of serious crimes, and/or the Youth’s failure to comply with less
        restrictive rehabilitation programs (e.g., probation, group homes).
        11.    OJJ maintains five secure care facilities across the state: Acadiana Center for
        Youth at Bunkie (“ACY”), Acadiana Center for Youth at St. Martinville (“ACY-SM”),
        Bridge City Center for Youth (“BCCY”), Swanson Center for Youth at Monroe (“SCY”),
        and Swanson Center for Youth at Columbia (“SCY-C”).
        12.    The secure care facilities include housing dormitories, common areas,
        gymnasiums, outdoor recreational areas, schools, medical and counseling facilities, and
        dining areas. Movement of the Youth between these areas is controlled by staff, but the
        Youth have significantly greater freedom to move from one area of the campus to another
        than an inmate in an adult correctional setting would have.        Each dormitory may be


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        comprised of twelve to fifteen Youth on average, and the Youth are free to move about
        their dormitories.
        13.     Youth who are classified in OJJ secure care facilities are under the direct and
        constant supervision of OJJ staff and adhere to a daily programming rehabilitation
        schedule that includes education, counseling, medical, and recreational services to help
        the Youth learn how to make healthier life decisions.
                  Current Issues Faced by Existing OJJ Secure Care Facilities
        14.     Recent events involving only a small number of Youth in OJJ’s secure care
        facilities have revealed that the existing secure care facilities and rehabilitation programs
        are not sufficient to effectively house these particular Youth.
        15.     The secure care facilities were constructed with standards designed to house
        Youth offenders.     In OJJ’s experience, Youth offenders assigned to the secure care
        facilities are generally able to adapt to the secure care environment and comply with the
        behavioral rules. Historically, OJJ has not experienced large scale or serious events (e.g.,
        riots, escape attempts, acts of armed violence against other Youth or staff). Accordingly,
        the construction techniques to build these facilities have been consistent with the
        expected behavior (e.g., non-reinforced walls, standard ceiling heights).
        16.     While ordinarily beneficial for the therapeutic mission of OJJ, the open dormitory
        housing at existing secure care facilities presents a safety and security issue with respect
        to these particular Youth.
        17.     Certain Youth have engaged in repeated disruptive behaviors and physical assaults
        upon their peers, demonstrating an inability to cohabitate peacefully and safely with other
        Youth in the facilities. These disruptions present a physical and mental health hazard for
        Youth housed with the disruptive Youth. Those Youth have also assaulted and injured
        staff members to the point that many staff members have voluntarily ended their
        employment with OJJ.
        18.     The disruptive Youth have caused substantial property damage to the secure care
        facilities.



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        19.     The disruptive Youth have repeatedly escaped and have engaged in violent and
        serious criminal behavior prior to their apprehension and return to the facilities. For
        example, Youth who have escaped from OJJ secure care facilities have been accused of
        theft of motor vehicles, carjacking, burglary, armed robbery, attempted murder, reckless
        operation of stolen vehicles, and illegal possession of handguns.
        20.     On July 17, 2022, six Youth housed at BCCY escaped the facility. Five of the
        Youth engaged in the theft of a truck, repeatedly rammed into a Jefferson Parish Sheriff’s
        Deputy’s vehicle, were involved in a short pursuit, and ultimately crashed the truck. The
        sixth Youth engaged in the carjacking of a vehicle at gunpoint then shot the occupant, a
        59-year-old New Orleans man, who was critically injured.
        21.     On June 16, 2022, around 20 Youth escaped their dormitory at BCCY, took over
        part of the facility, and caused a riot. The riot resulted in injuries requiring medical
        attention to at least two Youth.     At least one staff member was hospitalized due to
        injuries. In addition, five Youth escaped the secure care facility.
        22.     On June 13, 2022, at least five Youth were involved in a physical altercation
        outside of the school building at SCY. At least four staff members were battered by the
        Youth, and one staff member was transported to the hospital. Named Plaintiff, Alex A.,
        was involved in this incident and is accused of striking at least three staff members with a
        closed fist.
        23.     On May 25, 2022, several Youth were involved in a fight in their dormitory at
        SCY. Three of the Youth were over the age of 18 and were subsequently booked into
        adult correctional facilities for criminal charges. The incident caused over $35,000 in
        damage to the facility.
        24.     OJJ is already undergoing many renovation projects at various secure care
        facilities across the state, including a renovation of the Cypress Unit at SCY, ACY, and
        ACY-SM. Additionally, OJJ is planning to begin large-scale renovations at BCCY once
        the new facility at Bridge City Center for Youth at West Feliciana (“BCCY-WF”) is
        operational.



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        25.     Additionally, OJJ anticipates the opening of a new 72 bed Tier 1 and 2 high
        security facility at SCY in 2023.      This newly built facility, along with the recently
        renovated and repaired 48 beds at the SCY Cypress Unit and Mental Health Transitional
        Unit will provide a total of 120 secure care beds to house Youth with more severe and
        aggressive behavior.
                                 BCCY-WF as a Temporary Solution
        26.     OJJ is currently preparing to open a new Transitional Treatment Unit (“TTU”) to
        provide greater individual rehabilitation services and security to a small number of
        disruptive Youth who are not responding appropriately to the current level of services and
        care.   Attached as Exhibit F-1 is Policy B.2.8 Transitional Treatment Unit (TTU)
        08-23-22.
        27.     The TTU will be at the OJJ’s newly formed BCCY-WF, which is located on the
        campus of the Louisiana State Penitentiary (“LSP”), in a building physically and
        geographically isolated from housing units for adult offenders at LSP.
        28.     Certain Youth with severe and dangerous behavioral issues, primarily confined in
        the current BCCY facility, have destroyed the physical facilities to the point that they
        must be renovated and repaired. Due to the damage by these 25 to 30 Youth, the current
        BCCY facility no longer has enough available beds that are in habitable condition, and
        OJJ’s current physical structures do not meet the needs for the TTU. OJJ is currently at
        full bed capacity within the secure care facilities largely due to the extensive damage
        caused to sections of the five facilities by these Youth.
        29.     A previously unused building on the LSP campus has the appropriate layout and
        infrastructure that, with minor modifications, can satisfy the needs of the TTU.
        30.     Twenty-four Youth in OJJ custody will be housed at BCCY-WF. This secure care
        facility is to be a temporary housing solution for the Youth. The TTU will be relocated to
        one of the existing OJJ secure care facilities as soon as construction of the permanent
        facility is completed.
        31.     BCCY-WF will be a Youth-only secure care facility.          No adult inmates are
        currently housed or will be housed at BCCY-WF.


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        32.      OJJ is committed to maintaining sight and sound separation from adults
        incarcerated at LSP such that Youth housed at BCCY-WF will not be placed in situations
        in which they have any clear visual or verbal contact with adult inmates.
        33.      Consistent with federal and state requirements, the Youth housed at BCCY-WF
        will not be in contact with adults incarcerated at LSP. Separation of Youth in OJJ custody
        from adult inmates will be maintained at all times. No adult inmates will be permitted to
        enter the BCCY-WF fence line for any reason.
        34.      OJJ will provide all services at BCCY-WF, including food, medical, counseling,
        custodial, maintenance, and groundskeeping. OJJ will run BCCY-WF independent of
        LSP. Although the DOC will assist OJJ with certain services while OJJ continues to
        onboard new staff, no adult inmates will be utilized to provide services within the BCCY-
        WF fence line.
        35.      OJJ will not utilize DOC staff at BCCY-WF unless there are insufficient OJJ staff
        available to meet the facility’s needs. DOC staff will only be utilized when necessary,
        and such use will be limited, as the OJJ staff will primarily interact with the Youth.
        36.      While it is the goal and intent of OJJ to exclusively provide security services, it is
        likely that some DOC security officers will provide security services at BCCY-WF. This
        is not a practice that is unique to BCCY-WF, as OJJ routinely relies on DOC security
        officers to provide additional staffing at its secure care facilities if OJJ faces a staffing
        shortage.    Before any DOC security officer is permitted to work with the Youth, the
        officer must undergo training specific to policies and procedures for handling delinquent
        Youth.
        37.      BCCY-WF will require approximately 112 staff members (including security,
        education, medical, programming, and ancillary services) when it is fully operational. As
        of today, OJJ has identified approximately 40 staff members from existing secure care
        facilities who will staff BCCY-WF, and approximately 20 new employees have been
        interviewed and hired. OJJ is actively interviewing and hiring more employees to staff
        BCCY-WF on a daily basis.



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        38.    BCCY-WF will provide greater individual rehabilitation services and security to
        those Youth who are not responding appropriately to the services and care at BCCY.
        Specifically, BCCY-WF provides individual housing accommodations that will prevent
        certain Youth from accessing other Youth while they sleep.           BCCY-WF employs
        reinforced walls and high ceilings to avoid property damage.       BCCY-WF is located
        within multiple fences that will stop Youth from escaping or attempting to escape.
        39.    BCCY-WF will provide Youth with more protection to prevent them from injuring
        themselves or from being injured by others. Specifically, BCCY-WF will have fewer
        Youth residents than BCCY.
        40.    I declare under penalty of perjury that the above and foregoing is true and correct
        to the best of my knowledge, information, and belief.

Dated: August 26, 2022




                       _________________________________________
                                   Otha “Curtis” Nelson




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                                  YOUTH SERVICES
                                      POLICY

     Title: Transitional Treatment Unit (TTU)          Type:     B. Classification, Sentencing and
                                                      Service Functions
                                                      Sub Type: 2. Classification
                                                      Number:      B.2.8
                                                   Page 1      of 25
  References:
 La. Children’s Code Arts. 897 and 899; La. R.S. 15:901 G, 17.416.2 – Discipline of Pupils,
 17.7.5 – Alternative Education Instruction; ACA Standards 2-CO-3C-01 and 2-CO-4F-01
 (Administration of Correctional Agencies); YS Policy Nos. A.1.14 “Unusual Occurrence
 Reports”, B.2.1 “Assignment, Reassignment and Release of Youth”, B.2.2 “Youth
 Classification System and Treatment Procedures", B.2.21 “Behavioral Intervention (BI) and
 Extended BI”, B.5.1 “Youth Code of Conduct – Secure Care”, B.6.4 “Accident and Injury (A&I)
 Evaluations”; BESE Bulletin 111 – State/School Accountability, 131 – Alternative Education,
 741 – School Administrators, 1508 – Pupil Appraisal Handbook, 1706 – Regulations for the
 Implementation of Children with Exceptionalities Act; Section 504 of the Rehabilitation Act of
 1973
                                         STATUS: Approved
 Approved By: William A. Sommers, Deputy Secretary  Date of Approval: 08/23/2022




I.      AUTHORITY:

        Deputy Secretary of Youth Services (YS) as contained in La. R.S. 36:405.
        Deviation from this policy must be approved by the Deputy Secretary.

II.     PURPOSE:

        To establish the program objectives and the criteria for the placement of youth and
        youth with disabilities in the Transitional Treatment Unit (TTU) located at the
        Bridge City Center for Youth at West Feliciana. All students with disabilities
        assigned to OJJ’s TTU program shall be provided a free and appropriate education
        (FAPE).

III.    APPLICABILITY:

        Deputy Secretary, Assistant Secretary, Chief of Operations, Executive
        Management Advisor, Youth Facilities Director - Statewide, Director of Treatment
        and Rehabilitation, Director of Education, Facility Directors, WFTTU staff, and
        contracted health care provider (CHP) staff.



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      Facility Directors are responsible for ensuring that procedures are in place to
      comply with the provisions of this policy.

IV.   DEFINITIONS:

      Behavior and Accommodations Binder (BAB) – A binder containing the history
      of youth requiring physical intervention, as well as the most current Unified
      Behavior Plan (UBP) for Youth With Special Needs. The BAB will contain these
      two (2) documents for youth residing in a particular housing area and shall be
      maintained in a secured area readily accessible to staff at all times. Staff shall be
      advised of the location, content and purpose of the binder as it relates to this
      policy, and shall review the BAB at the beginning of every tour of duty,
      documenting their review in the unit’s logbook.

      Behavior Intervention Plan (BIP) – A BIP is a written plan to help a student who
      struggles to behave in class. It's designed to stop problem behaviors by rewarding
      good behaviors.

      Bulletin 1508 – Louisiana’s Pupil Appraisal Handbook and serves as a regulatory
      guide for pupil appraisal personnel when conducting individual evaluations of
      students suspected of being exceptional and in need of special education and
      related services.

      Case Manager – A generic term used within a YS secure care facility to identify
      members of the counseling profession (e.g., social services counselor, clinical
      social worker, program manager, case manager or a treatment team member)
      assigned to manage a youth’s case.

      Child Find – Child Find requires Local Education Educations (LEAs) to ensure
      that all students with disabilities who may be in need of special education and
      related services are identified, located, and evaluated.

      Compensatory Education – Compensatory services are educational services
      needed to make up for skills or learning that have been lost when services
      described in an IEP were not provided.

      Contracted Health Care Provider (CHP) – Contracted licensed practitioners
      responsible for the physical and mental well-being of the secure care youth
      population. Services include medical, dental and mental health services, nursing,
      pharmacy, personal hygiene, dietary services, health education and environmental
      conditions.




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    Developmentally Disabled/Intellectually Disabled (DD/ID) – Refers to
    significantly impaired intellectual and adaptive functioning with an Intelligence
    Quotient (IQ) of 68 or below with concurrent deficits or impairments in present
    adaptive functioning in at least two of the following areas: communication; self-
    care; home living; social/interpersonal skills; use of community resources; self-
    direction; functional academic skills; work; leisure; health and safety; with onset
    before age 18.

    Exceptionality – Any disability term as well as gifted and talented per Individuals
    with disabilities Education Act (IDEA) and Bulletin 1508 guidelines.

    Exigent Circumstances – Exist when there is a substantial threat to the safety of
    others, or the custody concerns of the facility, and there is no time as a practical
    matter to convene a multidisciplinary team meeting.

    Free and Appropriate Public Education (FAPE) – FAPE is a law that makes
    available a free appropriate public education to eligible children/youth ages 3-21
    and provided in conformity with an individualized education program (IEP).

    Individual Accommodation Plan/504 Plan – 504 Plan is intended for disabled
    children who do not need or qualify for special education but could benefit from
    accommodations and/or specialized help in school. These plans identify
    accommodations a disabled child needs to fully participate in the classroom and
    set up ways to help the child succeed.

    Individual Education Program (IEP) – An IEP is a written statement for a
    student with a disability that is developed, reviewed, and revised in a meeting in
    keeping with certain requirements of law and regulations. The IEP establishes
    measurable annual goals for the student and states the special education and
    related services and supplementary aids and services that the public or local
    education agency will provide to, or on behalf of, the student.

    Individualized Intervention Plan (IIP) – Initial and Formal – A statement of
    goals, objectives, and the methods used to obtain them that is created for each
    youth in secure care. The IIP is dynamic and is updated depending on the
    identified needs and specialized treatment required for a youth while in secure
    care. The IIP also identifies follow-up services needed by the youth on release
    and is coordinated with Community Based Services to provide the proper level of
    aftercare.

    Individualized Intervention Plan Summary of Staffing Form – A form
    completed for all case staffings for a youth in secure care. The form lists any
    modification of goals and objectives that occur as well as new goals and objectives
    that are developed.




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    Individuals with Disabilities Education Act (IDEA) – The nation’s federal special
    education law that ensures public schools serve the educational needs of students
    with disabilities. IDEA requires that schools provide special education services to
    eligible students as outlined in a student’s Individualized Education Program (IEP).

    Juvenile Justice Specialist (JJS) – Provides security of youth and assists in the
    application of clinical treatment in accomplishing the overall goal of evaluation
    and/or treatment of individuals judicially remanded to a YS secure care facility.

    Local Education Agency (LEA) – A public board of education or other public
    authority legally constituted within a State for either administrative control or
    direction of, or to perform a service function for, public elementary schools or
    secondary schools in a city, county, township, school district, or other.

    Manifestation Determination (MDR) – A meeting to review all relevant
    information and the relationship between the child's disability and the behavior.

    Mental Health Treatment Professional (MHTP)/Qualified Mental Health
    Professional (QMHP) – Includes psychiatrists, psychologists, social workers,
    nurses and others who by virtue of their education, credentials, experience or with
    appropriate supervision, are permitted by law to evaluate and care for the mental
    health needs of patients.

    Multidisciplinary Evaluation (MDE) – The process of gathering both formal and
    informal data from a variety of sources to determine whether a student is eligible
    for special education services and to provide information about his or her current
    levels of functioning.

    Multidisciplinary Team (MDT) Staffing – A team consisting of representatives
    from at least three disciplines, (e.g., treatment, custody, education, mental health
    or medical) to determine a youth’s suitability for placement to/removal from the
    Behavioral Health Treatment Unit.

    Operations Shift Supervisor (OSS) – Staff responsible for a range of duties that
    support management in maintaining a safe, secure facility. Shift Supervisors
    oversee administrative and operational security activities during specific shifts;
    manage staff during each assigned shift; ensure adequate security coverage; lead
    count procedures; oversee the custody, supervision and control of secure care
    youth; manage frontline security staff; assist in controlling youth movement; assist
    in directing the use and issuance of keys, locks, and security equipment.

    Positive Behavior Intervention Supports (PBIS) – An evidence-based three-
    tiered framework to improve and integrate all of the data, systems, and practices
    affecting student academic and behavior outcomes every day.




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    Progress Monitoring – A scientifically based practice used to assess a student's
    on-going academic and behavioral progress and evaluate the effectiveness of
    instruction.

    Related Services - Related services means transportation and any other
    developmental, corrective, or other supportive services (e.g., speech, counseling
    health…) that a student needs to benefit from his or her educational program
    provided through the IEP for students identified with an exceptionality under IDEA.

    Section 504 – Section 504 of the Rehabilitation Act of 1973 requires that school
    districts provide a free appropriate public education (FAPE) to qualified students in
    their jurisdictions who have a physical or mental impairment that substantially limits
    one or more major life activities, regardless of the nature or severity of the
    disability.

    Seriously Mentally Ill (SMI) – Disorders of mood and cognition (with the
    exception of developmentally disabled/ID) that significantly interfere with
    functioning in at least one essential sphere of the youth’s life (e.g. psychotic
    disorders, mood disorders, the aggressively mentally ill, and youth who exhibit self-
    mutilating or suicidal behavior). Youth with these disorders may be referred to as
    "SMI" youth.

    Structured Programming – Includes any regularly scheduled activity provided to
    a youth out of his room from the time lights are turned on in the morning until lights
    are turned off at night in accordance with the facility’s posted daily schedule.

    Transitional Treatment Unit (TTU) – A maximum custody unit for youth described
    as violent and very aggressive with a documented history of engaging in behavior
    which creates or incites aggressive responses from others and creates an unsafe
    therapeutic environment for staff and youth.

    Trust Based Relational Intervention (TBRI) -- An attachment based, trauma
    informed intervention designed to meet the needs of vulnerable youth by using
    empowering, connecting and correcting principles to address behaviors.

    Unified Behavior Plan (UBP) – A document developed by youth’s Case Manager
    and maintained on youth designated by the contracted health care provider as
    having an individual deficit disorder. This plan shall include any physical
    limitations and/or precautions that staff must be aware of in the event a physical
    intervention is necessary.

    Weekly Team Meeting – A meeting conducted weekly by staff assigned to a unit
    to assess the development of the individual youth, to review a youth’s progress, to
    plan out treatment strategies for the week, and to promote staff development and
    discuss staff issues.




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V.    POLICY:

      It is the Deputy Secretary’s policy to address the needs of the youth assigned to a
      YS Secure Care facility who require individual attention. All reasonable efforts
      shall be made to utilize less restrictive alternatives in the placement of youth.

      However, certain youth may require assignment to a more restrictive setting
      because their continued presence in the general population poses an ongoing
      threat to property, staff and other youth, or to custody concerns or orderly running
      of the facility. In order to prevent arbitrary assignment, this policy establishes
      specific criteria for assignments to the TTU. Assignment to the Transitional
      Treatment Unit is not to be used as punishment of youth.

VI.   PHILOSOPHY, GOALS AND OBJECTIVES:

      The Transitional Treatment Unit (TTU) is able to house up to twenty-four (24)
      youth, and is a maximum custody unit for youth described as violent and very
      aggressive with a documented history of engaging in behavior which creates or
      incites aggressive responses from others and creates an unsafe therapeutic
      environment for staff and youth. The purpose of the TTU is to assist staff in
      implementing promising strategies for identified youth. The TTU is designed to
      assist youth in developing the self-regulatory, coping, and social skills needed to
      safely and successfully engage peers and staff members. The TTU is a specialty
      program that ensures coordinated programming for youthful offenders.

      The goals of the program are to provide youth with accountability for their actions,
      to enable them to learn adaptive methods of resolving problems and reaching
      personal goals, and to provide on-going support to enable youth to generalize and
      maintain positive changes.

      Objectives to achieve these goals are to:
      1. Engage and motivate each youth to commit to change in their thinking, feelings
         and actions, by utilizing many therapeutic tools including but not limited to
         TBRI;
      2. Identify the youth’s dysregulatory emotions, thinking errors, and skills deficits
         that foster and lead to continuing violent behavior;
      3. Assist the youth in learning more adaptive ways to solve problems through
         changing belief systems and teaching self-control, self-management, and
         problem-solving skills;
      4. Provide a safe and reinforcing environment for the youth to practice the
         application of new cognitive constructs and emotional/behavioral skills to solve
         problems;
      5. Provide phased reintegration of the youth into the general population with
         follow-up support services.




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VII. PROCEDURES:

    A Difficult Case Staffing may be conducted outside of the regularly scheduled
    Quarterly Reclassification Staffing if there are immediate concerns about a youth.
    Issues that may prompt the scheduling of a difficult case staffing would consist of
    medical, mental health or behavioral issues that have caused the youth to have
    difficulty functioning in the general population or have caused safety concerns.

    The multi-disciplinary treatment team shall meet to develop a future plan for the
    youth to best meet his needs and assign specific staff to monitor and enforce the
    treatment plan. A specific Behavior Improvement Plan [see Attachment B.2.8(a)]
    shall be developed by the youth’s assigned Case Manager and approved by the
    Case Manager Supervisor within five (5) days of the staffing for youth with mental
    health or behavioral issues that are preventing the youth from progressing in
    treatment or are causing disruptions to programming. The behavioral plan shall be
    behaviorally specific, measurable, time limited and reviewed weekly with the youth
    and documented on how well he is doing or not doing in working towards
    successful completion of the plan.

    If the youth has an exceptionality identified per IDEA and Bulletin 1508 guidelines,
    the BIP or Behavior Plan must be in alignment with the youth’s IEP and the
    development should involve members from the IEP team

    Unless there are exigent circumstances, a difficult case staffing must be held and a
    Behavior Improvement Plan implemented for a period of 30 days and show a lack
    of documented success in disrupting or stopping the behavior prior to referring a
    youth to the Transitional Treatment Unit (TTU).

    A.   Admission Criteria

         To be considered for transfer to the TTU, a youth must meet at least one of
         the following criteria and must undergo all of the due processes involved in
         the unit transfer:

         1.    Has exhibited a pattern of battery on other youth which has not been
               substantially reduced by prior intervention efforts (i.e., difficult case
               staffing, behavioral plan, code of conduct).

         2.    Has committed a single battery/predatory act of such serious
               consequence that the potential of reoccurrence must be actively
               prevented.

         3.    Has exhibited a substantially physical battery on staff that has been
               documented.




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         4.    Has a documented history (i.e. UORs, Youth Statements, Code of
               Conduct) of engaging in behavior that causes major disruption to
               programming (ie. gang activity) or incites predatory responses from
               other youth.

         5.    Has been in possession of a significant weapon (i.e., gun, knife,
               bomb).

         6.    Has created a dangerous situation for other peers by bringing in
               contraband (i.e., drugs, medication, substantial pornography with
               motivation to distribute).

         7.    Has marijuana or other illegal substances in possession or has a
               substantial amount with motivation to distribute.

         8.    Youth displays a chronic pattern of public masturbation. Based upon
               the severity and frequency of the issue, the sex offender protocol shall
               be initiated.

         9.    Has been involved in AWOL, AWOL attempt, and escape

         All incidents referenced must be documented with an Unusual
         Occurrence Report (UORs) (Refer to YS Policy A.1.14), Code of Conduct
         Violation Report (Refer to YS Policy B.5.1), and Accident & Injury (A&I)
         report (when applicable) (Refer to YS Policy B.6.4).

         Upon release from the TTU, the youth’s placement will be best determined by
         the needs of the youth and not necessarily the unit from which the youth was
         transferred from.

    B.   Exclusionary Criteria

         The program is mostly designed for youth with significant delinquency issues.
         However, up to four youth classified as Seriously Mentally Ill may be
         transferred to the program after a consensus recommendation from an MDT
         staffing.

         Youth classified with a Serious Mental Illness (SMI) whose MH stability is not
         currently well managed shall not be considered for this program. Youth with
         significant thought disorders (i.e., Schizophrenia, Schizoaffective Disorder,
         Delusional, Psychotic Disorder Unspecified, Dissociative Identity Disorder,
         Conversion Disorder, Major Depression with Psychotic Features, Post
         Traumatic Stress Disorder, Severe, etc), imminent suicidal ideation, imminent
         psychotic behavior will not be considered for the program. Upon stabilization,




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         these youths shall be released to the most appropriate unit. Additionally,
         youth with significant developmental disabilities should be referred to the unit
         on a case by case basis. These youths may be referred, with concurrence of
         Mental Health Contractor (Wellpath).

         Youth identified with an exceptionality per IDEA regulations and Bulletin 1508,
         shall be afforded a Manifestation Determination Review (MDR) within 10
         days, prior to the transfer to the TTU.

    C.   Referral Process

         1.   A referral for admission to the TTU can be made by the Facility Director,
              Deputy Director, Assistant Facility Director, Facility Treatment Director,
              the youth’s assigned Case Manager or the youth’s assigned dorm Group
              Leader.

              Prior to making a referral to the TTU, a multidisciplinary team (MDT)
              shall conduct a staffing to discuss the specific circumstances of the
              youth’s pattern of aggressive behavior, current Behavior Improvement
              Plan and its appropriateness to modify the youth’s behavior. The MDT
              shall also review all documentation to support the referral to the TTU
              including, UOR(s), Code of Conducts, and A&I reports and speak with
              the youth about the consideration of a referral to TTU.

              The multidisciplinary treatment team shall consist of the Facility Deputy
              Director and Treatment Director, youth’s assigned Social Services
              Counselor and Group Leader and educational representative. The
              assigned Wellpath qualified MH professional and Wellpath psychiatrist if
              the youth is currently under Wellpath mental health care shall also be
              included.

         2.   If the multidisciplinary team deems a referral to the TTU is appropriate,
              within two (2) working days, excluding holidays and weekends, the
              youth’s Case Manager shall complete the TTU Referral Form [see
              Attachment B.2.8(b)] in JETS and send to the Director of Treatment and
              Rehabilitation along with documentation to support the youth meets the
              admission criteria, i.e. UOR(s), Code of Conducts, and A&I reports. The
              referral will be reviewed to verify the youth meets the admission criteria
              for transfer to the TTU.

              Within one (1) working day of receiving the referral, the Director of
              Treatment and Rehabilitation will notify the referring Facility Director,
              Deputy Director, Assistant Facility Director, Facility Treatment Director,
              and the youth’s assigned Case Manager of the outcome.




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         3.   Within five (5) days of verifying the youth meets the admission criteria to
              the TTU, a transfer staffing shall be held with the multidisciplinary
              treatment team. The Director of Treatment and Rehabilitation will notify
              all members of the MDT of the staffing date at least three (3) days prior
              to being held.

              The multidisciplinary treatment team shall consist of the following: the
              Facility Deputy Director, Director of Education and Treatment Director of
              the sending facility, youth’s assigned Social Services Counselor and
              Group Leader, TTU Dorm Leader and Case Manager, and the Director
              of Treatment and Rehabilitation. The youth’s Wellpath assigned qualified
              MH professional and Wellpath psychiatrist if the youth is currently under
              Wellpath mental health care shall also be included. The Supervisor of
              Special Education shall be a member of the multidisciplinary team if the
              referred youth receives special education or related services.

              The youth’s Case Manager shall invite the youth’s parent/guardian to the
              MDT staffing, which shall be documented on a “Weekly Contact
              Progress Note” in JETS by the youth’s assigned Case Manager of the
              requesting facility within three (3) working days.

         4.   At least two (2) days prior to the staffing, the youth’s assigned Case
              Manager shall forward the following to all members of the
              multidisciplinary team: completed TTU Behavioral Staffing Form [see
              Attachment B.2.8(c)], supporting documentation such as UORs and
              Code of Conduct hearing, A&Is, Behavior Improvement Plan, along with
              notes regarding how the youth did meeting the goals of the behavior
              plan.

         5.   The MDT staffing may take place telephonically. The staffing shall be
              recorded in its entirety, and maintained by the Facility Treatment Director
              for a minimum of one (1) year in a secured location.

         6.   A written record of the MDT staffing shall be prepared by the sending
              facility utilizing the “Individualized Intervention Plan Summary of Staffing”
              form in JETS, within three (3) working days of the staffing. Only the
              signature page of the “Individualized Intervention Plan Summary of
              Staffing” form shall be placed in the youth’s Master Record.

              If both facilities cannot agree on whether the youth will benefit from
              placement in the Transitional Treatment Unit, the Youth Facilities
              Director - Statewide shall make the final decision based upon the safety
              of the staff and the best needs of the youth.




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    D.   Transfer Process

         1.   Arrangements for transfer to the TTU shall be made by designated staff
              within one working (1) day of the MDT staffing. The youth’s Case
              Manager shall ensure that all appropriate paperwork is completed and
              processed in accordance with this policy and YS Policy No. B.2.1.

         2.   The documentation reflecting what precipitated the youth being
              transferred to the TTU, the strategies utilized to address these
              behaviors, and all other applicable documentation shall be included in
              the youth’s Master and/or JETS record prior to transfer.

         3.   The youth’s Case Manager on the TTU shall complete the “Transfer
              Letter to Judge” [see Attachment B.2.8(d)] and “Parental Notification of
              Transfer” [see Attachment B.2.8(e)] in JETS and send to the youth’s
              judge of jurisdiction, and his family/legal guardian within 48 hours of his
              admission to the program (excluding weekends/holidays), utilizing the
              appropriate transfer letters in JETS.

    E.   Emergency Transfer

         There may be an exigent circumstance when a youth’s behavior or single
         action is so severe it necessitates the need for an emergency staffing and
         transfer to the TTU. In such rare cases, the following shall occur prior to a
         youth’s assignment to the program.

         1.   An Emergency Transfer may be considered when:

              a.   The youth poses a substantial immediate threat to the safety of
                   other youth and/or

              b.   The youth has caused a serious documented physical injury to staff
                   and;

              c.   There is not sufficient time to convene an MDT staffing committee
                   without placing other youth or staff at risk.

         2.   Prior to an emergency transfer to the TTU, the Facility Director where
              the youth is currently housed shall send a request to the Youth Facilities
              Director - Statewide for placement in Extended BI at TTU as outlined in
              YS Policy B.2.21.




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         3.   Within three (3) working days of the youth’s placement in Extended BI,
              an Emergency Transfer staffing shall be held with the multidisciplinary
              treatment team. The Director of Treatment and Rehabilitation will notify
              all members of the MDT team of the staffing date at least two (2) days
              prior to being held.

              The multidisciplinary treatment team shall consist of the following: the
              Facility Deputy Director and Treatment Director from both the sending
              and receiving facility, Director of Education, youth’s assigned Social
              Services Counselor and Group Leader, TTU Dorm Leader and Case
              Manager, and the Director of Treatment and Rehabilitation. The youth’s
              Wellpath assigned qualified MH professional and Wellpath psychiatrist if
              the youth is currently under Wellpath mental health care shall also be
              included.

              The youth’s Case Manager from the referring dorm/facility shall invite the
              youth’s parent/guardian to the MDT staffing, which shall be documented
              on a “Weekly Contact Progress Note” in JETS by the youth’s assigned
              Case Manager of the requesting facility within three (3) working days.

         4.   At least two (2) days prior to the staffing, the youth’s Case Manager from
              the referring dorm/facility shall forward the following to all members of
              the multidisciplinary team: completed TTU Referral form [see Attachment
              B.2.8(b)], Behavioral Staffing Form [see Attachment B.2.8(c)], supporting
              documentation such as UORs and Code of Conduct hearing, A&Is,
              Behavior Improvement Plan, along with notes regarding how the youth
              did meeting the goals of the behavior plan.

         5.   The MDT staffing may take place telephonically. The MDT staffing shall
              be recorded in its entirety, and recorded staffing shall be maintained by
              the Facility Treatment Director for a minimum of one (1) year in a
              secured location.

         6.   A written record of the MDT staffing shall be prepared by the sending
              facility utilizing the “Individualized Intervention Plan Summary of Staffing”
              form in JETS, within three (3) working days of the staffing, documenting
              the decision of the Director of Treatment and Rehabilitation,
              documentation of the youth’s behavior meeting unit admission criteria,
              inclusive of prior attempts made to modify the behavior, and any
              statements made by the youth during the staffing. Only the signature
              page of the “Individualized Intervention Plan Summary of Staffing” form
              shall be placed in the youth’s Master Record.




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         7.   The youth’s Case Manager on the TTU shall complete the Transfer
              Letter to the Judge [see Attachment B.2.8(d)] and the Parental
              Notification of Transfer [see Attachment B.2.8(e)] and send to the
              youth’s judge of jurisdiction, and his family/legal guardian within 48 hours
              in writing of his admission to the program (excluding
              weekends/holidays), utilizing the appropriate transfer letters in JETS.

         8.   If the multidisciplinary team determines that transfer to the TTU is not in
              the youth’s best interest, the team shall develop an appropriate Behavior
              Improvement Plan and determine the most appropriate facility and
              housing unit to accommodate the youth’s needs.

    F.   Special Accommodations

         1.   Any specific accommodations a youth in the program may require due to
              special needs, such as diagnosis of mental health or medical concern
              requiring specific medication for treatment, shall be listed in the Behavior
              and Accommodations Binder (BAB) in the youth's assigned housing unit.

         2.   The BAB shall direct staff to adhere to the youth's needs. The
              accommodations may include the Case Manager completing a Unified
              Behavior Plan for Youth with Special Needs (UBP) form in JETS [see
              Attachment B.2.8(f)]. The UBP shall developed by the CHP and YS staff
              in a multidisciplinary treatment team staffing for youth diagnosed with ID,
              which specifically lists needs and suggested staff interventions.

    G.   Provision of Services

         1.   Individual Counseling-The youth will be assigned a social services staff
              member for individual counseling which will occur at least one time per
              week, which may include crisis services. Individual counseling will focus
              on individual vulnerabilities and risk factors that increase the chance of
              the youth responding or acting in maladaptive ways. Additionally, the
              youth’s Mental Health Contractor (MHTP for SMI youth) will counsel with
              the youth once weekly.

              Individual counseling sessions shall be documented by the Case
              Manager in JETS on the Weekly Contact Progress Note using the Data,
              Assessment, Goal, and Plan (DAGP) format within five (5) working days.
              (Refer to YS Policy B.2.2)

              Youth receiving counseling as a related service per their IEP, will also
              receive individual counseling from the designated pupil appraisal team
              member based on the frequency and documented in the IEP. These
              counseling sessions are separate from the counseling sessions provided
              by the Social Services staff noted.



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         2.   Groups -- Skills training (interpersonal effectiveness, problem-solving,
              emotional regulation, distress tolerance) will occur in group counseling.
              Homework is an essential part of skills training, as repetition and practice
              is essential as part of the learning process. Once skills are learned in
              group, unit staff will reinforce use of the skills, coach youth on applying
              the skills and reward youth for demonstrating commitment and
              competence in skills utilization.

              Youth will also attend group counseling focusing on anger management,
              victim awareness/impact, and components of PACT training, which is a
              cognitive based program, will be utilized.

              In the event groups cannot be integrated into TTU, anger management,
              victim awareness/impact, and Thinking for a Change will be
              implemented in individual counseling.

         3.   Family Intervention - Family interventions are based on four major
              assumptions. First, every youth enters the program with a “family”,
              whether absent, distant, functional or dysfunctional and the involvement
              of their family is a critical component in ensuring compliance and
              developing skills necessary to build and support productive lifestyle
              changes. Secondly, the family is seen as the primary socializing unit,
              and in most cases the most influential system to which the youth
              belongs. Thirdly, that consistent with systemic thinking, the youth cannot
              be considered as separate from the social context from which he lives.
              Lastly, the family remains a family whether reunited or not and family
              members will often continue to have relationships throughout their lives.

              Since the eventual goal of the program is to re-integrate youth back to
              their home and/or community, family involvement is a strong component
              to treatment. To ensure successful reintegration of youth back into the
              community, the home must be a positive, safe and loving place that will
              foster the youth’s display of positive behaviors and rational beliefs.
              Family interventions may include telephonic counseling sessions and
              Zoom sessions. These sessions will be facilitated by the youth’s case
              manager on the unit.

              Family counseling sessions should be documented on the Weekly
              Contact Progress Note in JETS within five (5) working days of the
              contact, and reflect the date, time, and “Parental Management” or
              “Family Reintegration” as the topic. (Refer to YS Policy B.2.2)




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         4.   Recreation - Each youth will be given the opportunity to exercise and
              participate in outdoor exercise for at least one hour per day, including
              weekends and holidays.

              Additionally, leisure activities will be conducted on the unit. In addition to
              opportunities for relaxation and exercise, recreational activities will be
              structured as much as possible to provide opportunities to practice and
              build skills competency.

         5.   Religious Services - Each youth will be provided the opportunity to
              voluntarily participate in religious activities.

         6.   Educational Services - Educational services will be provided to all youth.
              Educational instruction will be determined based on each students
              needs for courses according to their graduation plan, learning plan and
              IEP requirements. Students/ youths who are enrolled in school, will
              complete assigned coursework via online learning with the assistance of
              a teacher/facilitator.

         7.   Medical Services - Unit residents will have equitable access to all
              medical, nursing, and other physical health services available at TTU.
              As much as possible, such services shall be provided within the confines
              of the unit. However, youth will be transported off the unit to received
              specialized medical and dental services.

         8.   Mental Health Services - Unit residents will have equitable access to
              mental health services as applicable.      Unit personnel will follow
              applicable Mental Health Contractor (Wellpath) policies as it relates to
              authorization for suicide watch. Mental Health Contractor’s staff will
              make determination whether or not youth’s emotional state has
              deteriorated which dictates need for re-evaluation by Mental Health
              Contractor and reassessment of placement

    H.   Phases of Treatment
         The SMTTU is divided into three phases:
         Phase I - Orientation to Treatment
         Phase II- Treatment
         Phase III - Transition

         Youth will be promoted to phases as to their individual level of participation in
         programming. While transfers back to the general population is optimal, there
         may be some youth who remain on the program until release to the
         community. However, systematically applied incentives are in place to
         encourage youth to continue program progress.




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         1.   PHASE I – ORIENTATION
              Upon entry to the unit, a youth will go through a formal orientation to
              treatment. The orientation period is up to seven days during which the
              youth is familiarized with the rules of the unit and the objectives for
              treatment. During this phase, youth shall be housed on a tier within the
              TTU.

              Goals/objectives of the orientation to treatment include:

              •    Learn unit rules, regulations, posted policies and expectations;
              •    Complete introduction to the group process (when and if feasible
                   group will be integrated), curriculum, stages;
              •    Introduce to other youth on the unit;
              •    Introduce to cognitive-behavioral philosophy, particularly the
                   concept of Behavioral Analysis;
              •    Completion of a Behavioral Analysis Worksheet for the precipitating
                   behavior that led to transfer to the Unit;
                       *A Behavioral Analysis is looking at and evaluating the cause
                       and effect of one’s behavior, recognizing any problem areas,
                       and correcting these behavioral environments. Three aspects of
                       behavior include stimulus, response, and reinforcement, also
                       known as the ABCs of behavior. ABC stands for antecedent,
                       behavior, and consequence. The antecedent is the trigger or
                       cause of the behavior. The behavior is the “action” or what the
                       subject does. The consequence is what happens following the
                       behavior. The ABCs can help determine why the behavior
                       continues to happen and how different consequences affect that
                       behavior.
              •    Review of the Unit Youth Handbook which will contain information
                   on unit rules, regulations, and expectations; the levels system; the
                   unit schedule; and a summary of the treatment and interventions
                   that will be provided;
              •    Contact by staff with the youth’s parents/custodians about the unit
                   program, with encouragement of family involvement/participation in
                   the process;
              •    Prepare the “Life Story” autobiography to be reviewed daily by
                   social services and juvenile justice staff towards the goal of
                   completion and review.

              During this first week, the youth’s assigned social worker/counselor will
              meet with the youth to introduce him to the cognitive-behavioral
              approach and to explain the concept of behavioral analysis, which is an
              essential element of the program that will be used to analyze the youth’s
              behavior and to develop treatment plans that will be effective in reducing




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              maladaptive      thought,    feelings   and    behaviors.      The     social
              worker/counselor/group leader will coach the youth in preparing a
              Behavioral Analysis Worksheet (BAW) for the precipitating behavior that
              led to transfer to the unit. Also, during this phase, an inter-disciplinary
              treatment team staffing will be conducted within seven working days
              following the youth’s admission to the Program for the purpose of
              modifying his individualized intervention plan (IIP) to reflect his identified
              target objectives and the interventions included in the unit program.
              Observations and information collected by the social worker/counselor
              during orientation will be used in the development of the IIP.
              Composition of the team will be consistent with current OJJ policy. The
              youth’s social services staff person from his original area/facility will also
              attend.

         2.   PHASE II – TREATMENT
               Upon leaving the orientation phase of treatment, youth will enter the
              treatment phase. The treatment phase of treatment is designed for a
              minimum of two weeks in duration (or more, depending on specific
              circumstances). During this phase, youth shall be housed on a tier
              within the TTU. Also, during this phase, youth will complete therapeutic
              homework assignments. These assignments will be facilitated during
              both group and individual counseling sessions and or group when
              groups are feasible. Details on the various types of counseling provided
              as well as adjunctive therapies is described under Provision of Services
              above.

              Group counseling will be integrated into programming when TTU is at an
              optimal staffing pattern and when groups are feasible.

              The following treatment modalities occur during this phase:

              Milieu Counseling
              Milieu Therapy is structuring the environment so that events and
              interactions are therapeutically designed for the purpose of enhancing
              skills and building confidence. It is in the milieu or “on the floor” that staff
              will consistently guide and reinforce the youth’s ability to learn new skills,
              while at the same time offering a safe place for these skills to be
              practiced and integrated into the youth’s repertoire of strategies. While
              attempting to accept youth as they are, staff will also be looking for
              adaptive responses to reinforce while extinguishing maladaptive
              responses. The constant focus is essentially supporting replacement of
              unskilled (maladaptive) behaviors with more skillful, effective behaviors.




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              Behavioral Techniques
              Techniques for breaking the maladaptive behavior chain are part of the
              treatment plan and are employed in the milieu when the problem
              behavior occurs. Techniques that may be employed include:

              •   Reinforcement – any event that maintains or increases the future
                  occurrence of a behavior that it follows. To be reinforcing, the event
                  must be something the individual likes and responds to. Reinforcers
                  might include positive statements about the behavior, additional
                  attention given to the person when the behavior is demonstrated, or a
                  simple thank you.
              •   Shaping – consists of selecting the target behavior; select the initial
                  behavior that the youth currently performs and that resembles the
                  target behavior in some way; select powerful reinforcements with
                  which to reinforce the target behavior; determine successive
                  approximations or small steps of the target behavior; and reinforce
                  the initial behavior until it occurs frequently.
              •   Redirection – A method of intervention that involves asking or telling
                  the youth to stop the inappropriate behavior, orienting them to
                  appropriate behavior, and warning them of the consequences for not
                  redirecting their inappropriate behavior to appropriate behavior.
              •   Extinction – is a procedure in which the reinforcement that has been
                  maintaining increasing an inappropriate behavior is withheld entirely.
                  A common practice of the extinction process is ignoring behavior that
                  is reinforced by attention.
              •   Contingency Management – is based upon a simple behavioral
                  principle – if a behavior is reinforced or rewarded, it is more likely to
                  occur in the future. Positive performance rewards would be an
                  example, when used, of “catching a youth doing something good”.
              •   Coaching and Role-Playing – Feedback with instructions or acting
                  out the instructions given or practicing new skills.
              •   Cognitive Restructuring – the basic idea is that people’s emotions
                  and behavior can be greatly affected by what they think. If people
                  can consciously change their habits of what they say to themselves
                  and what mental images they present to themselves, they can make
                  themselves more productive or can accomplish any of several other
                  positive changes. It is a way of giving you more control over your
                  own thoughts, feelings, and behaviors.
              •   Cool down – An area will be provided within range of the social
                  services staff and used as a tool to allow the youth to separate
                  themselves in times when they are unable to manage emotions.
                  Youth will have options to engage in self-soothing activities so that
                  conversation can follow about the stressors and ways to prevent
                  them in the future. This is in line with TBRI practices.




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         3.   PHASE III – TRANSITION
              Phase III is designed for youth who will either transfer to the general
              population and under some circumstances will transfer back into the
              community. Youth on this phase shall be housed in a tier on the TTU for
              at least one week (or more, depending on specific circumstances).
              During or before phase III, the youth may have been involved in a
              mediated meeting with the staff or youth with whom the youth offended.
              When a youth has demonstrated a working knowledge of new skills; is
              able to apply these skills in everyday situations within the unit with few
              prompts from staff; and therefore has a significant reduction in the
              behaviors which resulted in unit admission, the youth will begin the
              process of gradual transition. Prior to beginning the reintegration
              process, a specific general population reintegration plan will be
              developed by the inter-disciplinary treatment team, with specific
              objectives and performance indicators specified. The youth’s permanent
              social worker/counselor/group leader will be integrally involved in
              development and implementation of the general population reintegration
              plan.

              In addition to the aforementioned, the following indicators would be
              achieved:

              •   The youth is not a current danger to others;
              •   The youth is free of major violations for a three-week period;
              •   The youth has met the goals of his IIP;
              •   The consensus of the multi-disciplinary treatment team is that the
                  youth no longer requires residence and treatment in the Bridge City
                  Center for Youth at West Feliciana Transitional Treatment Unit, and
                  continued treatment can be effectively rendered elsewhere.

              At this point, the youth will be reviewed for transfer to a general
              population housing unit, maintenance within the TTU or release to the
              community.

              A youth can be placed in the TTU program for a minimum of 4 weeks.
              Their progression though the program is determined by their behavior,
              compliance with programing, their achievement in programing, and
              overall improvement. Youth might be in the program longer if there is
              continued behavioral problems, lack of behavioral change or willingness
              to implement strategies taught, or more intervention is needed due the
              significance of the occurrences that warranted the referral to the
              program.




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              The decision of the interdisciplinary treatment team will be forwarded to
              the Director of Treatment and Rehabilitative Services and to the
              Program Manager 1 of secure movement to review and determine
              appropriate placement. Once appropriate placement is determined, the
              youth will be returned to a general population housing unit. This process
              shall be finalized within 48 hours of the recommendation.

              If a youth is released from the TTU for 14 days or less, he does not have
              to be formally re-staffed if his behavior meets the criteria of the TTU
              program. However, certain protocols will need to be adhered for policy
              compliance. In these situations, some youth may participate in a shorter
              stay with the emphasis being placed on re-focusing. Also, if a youth is
              involved in continual behavioral and disruptive problems while on the
              TTU, the MDT may refer him back to phase I of the program.

VIII. EDUCATIONAL PROGRAMMING FOR STUDENTS WITH DISABILITIES

    A.   Child Find

         OJJ’s TTU Program will follow OJJ’s Child Find Policy and collaborate with
         the SSD the contracted special education provider to identify, locate, and
         evaluate all students between the ages of birth through 21 years who might
         be in need of special education and related services. This policy includes all
         students assigned to OJJ’s TTU program.

         1.   Parental and public awareness of possible areas of concern and special
              education.

         2.   Weekly reports of SBLC referrals made to the Supervisor of Special
              Education.

         3.   The School Building Level Committee will meet every two (2) weeks.

         4.   The TTU program uses a research-based academic and behavioral
              response-to-intervention (RTI) program inclusive of universal screenings,
              three-tier support levels, and progress monitoring.

         5.   Referral to pupil appraisal (SSD contracted special education provider)
              for a Bulletin 1508 evaluation as requested by the parent/guardian or
              SBLC committee with appropriate parent consent.




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    B.   Special Education Programming

         OJJ’s TTU Program will designate at the minimum 2 special education
         teachers to provide students with disabilities identified by IDEA with any
         special education instruction as prescribed by the student’s IEP. Related
         service providers are required and will be provided by SSD the contracted
         special education provider for the school site. Related services are
         determined by each individual student need and identified in the Bulletin 1508
         evaluation and IEP.

         1.   Evaluations:
              Any Bulletin 1508 evaluations in-progress at OJJ schools prior to being
              assigned OJJ’s TTU program shall continue and be completed within 60
              business day of original parental consent obtained unless documented
              parental consent has been obtained for an extension.

         2.   IEP Services:

              a.   The parent/guardian will be notified within two (2) business days of
                   a student’s assignment to OJJ TTU’s program.

              b.   The Supervisor of Special Education will notify SSD the contracted
                   special education provider of any OJJ student assigned to OJJ’s
                   TTU program that is identified as a student with an exceptionality
                   within 2 business days of transfer.

              c.   Any student with an IEP will continue to receive special education
                   services as outlined in their IEP. Confirmation that services have
                   been initiated at the TTU program site will be confirmed by SSD the
                   special education provider to the Supervisor of Special Education
                   and School Principal with the student name, date of birth, name of
                   the provider(s) and date of initiation.

              d.   If an amendment or change to their educational program is required
                   due to their assignment in the TTU program, SSD the contracted
                   special education provider will send prior written notice of any
                   proposed changes within 10 business days. All IDEA procedural
                   safeguards must followed and along with a copy provided to the
                   parent/guardian(s).

         3.   Special Instruction is provided by the special education teacher and/or
              personnel responsible as indicated in the student’s individual education
              program (IEP) in the services and placement section.




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              a.   A service log is maintained by SSD the contracted special
                   education provider.

         4.   Related services are provided by the related service provider and/or
              personnel responsible as outlined in the IEP.

         5.   Required Related Staff:
              Speech-Language Pathologist, Social Worker/School Psychologist,
              Occupational Therapist, Physical Therapist, Adapted Physical Education
              Teacher, etc.

         6.   Manifestation Determination Review:
              Any student who has been removed from their educational placement a
              total of 10 days and are recommended for short-term removal or long-
              term alternative school sites due to a behavior incident that occurred in-
              school, shall have a MDR to determine if the behavior has a direct and
              substantial relationship or caused by the student’s disability.

              a.   Prior written notice of proposed action shall be provided to the
                   student’s parent/guardian.

         7.   Training:

              a.   Annual training on the LEA’s Child Find Policy.

                   i.     Annual training on the Special Education Handbook;

                   ii.    Documentation of request and receipt of special educational
                          records between facilities/school.

              b.   Prior notification provided to parents/guardian.

              c.   Annual training on 504 Policy and Procedures.

         8. Special Education Records:
            The special education folder maintained at OJJ’s TTU facility site includes
            the following documents:

              a.   Current copy of evaluation, reevaluation, or waiver with a copy of
                   the most current evaluation;
              b.   Current IEP;
              c.   Current Progress Reports and Progress Monitoring;
              d.   Parent Contact Log;




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                e.   Parental Notification Letters;
                f.   Report Cards;
                g.   Transition Assessment(s)/ Transition Agency communication and
                     contact information;
                h.   Discipline Reports;
                i.   Functional Behavior Assessment (if applicable);
                j.   Behavior Intervention Plan (if applicable);
                k.   Manifestation Determination Review (MDR- if applicable);
                l.   Extended School Year Program Eligibility Letter;
                m.   Documentation of criteria used to determine eligibility for the April
                     Dunn Act;
                n.   Goals and objectives for specific course for courses or content
                     areas where individual performance criteria for alternate pathway to
                     promotion or graduation is applied.

      x    If the student is transferring from or among OJJ facilities these records should
           be requested by receiving facility and received by the new facility within 2
           business days.

IX.   TRAINING AND STAFF DEVELOPMENT:

      All staff members should have some experience working with juveniles. Once
      employed, staff members receive new employee orientation training. Additionally,
      staff will receive program-specific training activities over a course of a year. These
      training activities may be held during scheduled in-services and during team
      meetings. Each unit of training describes definitional, identifying characteristics and
      management principles. Each training session uses role plays and situational-
      based scenarios. The training activities may be conducted by the Social
      Worker/Counselor, Mental Health Contractor staff members, and Consultant.
      Course outlines are available for the indicated training activities. The following
      provides a sample overview of the content domains of the training units:

      1. Cognitive Behavioral Treatment
      2. Accommodating the Needs of SMI youth
      3. Adolescent Aggressive Behavior
      4. Establishing and Maintaining Therapeutic Environments
      5. Unit Management Procedures
      6. Integrated Treatment Model
      7. Conflict Resolution
      8. Overview of TTU program
      9. PACT
      10. Trust-Based Relational Intervention




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     Additionally, all staff members will receive on-going training in program
     management, policy and procedural updates, quality assurance and other relevant
     areas as needed.

X.   QUALITY ASSURANCE:

     The planning and evaluation process is ongoing with methodologies including
     monitoring of data collected through monthly and quarterly assessment and
     improvement measures. Actions are taken as a result of information obtained
     through these activities.

     Please note some of the activities to ensure such.

          a) File Reviews-administered quarterly
          b) Program Audits-administered quarterly
          c) Staff Training and Development

     A.   Director of Treatment and Rehabilitation Responsibilities

          1. All youth records will be reviewed monthly from the date of intake utilizing
             JETS. The purpose of the review is to ensure that need areas identified
             on the IIP are being addressed, to assess the quality of services being
             provided to the youth by the assigned Case Manager, to ensure required
             signatures are documented, and to ensure that the Master Record follows
             the established guidelines of YS Policy B.3.1.

          2. The Director of Treatment and Rehabilitation shall ensure that the required
             individual counseling, groups (if applicable) and family sessions are being
             provided as outlined in the program by reviewing group notes, as well as
             individual notes, of the Case Manager and/or the CHP if applicable. This
             information shall be verified in JETS.

          4. When groups are implemented into the treatment milieu, The Director of
             Treatment and Rehabilitation shall also monitor a minimum of one (1) TTU
             Group per month by co-facilitating a group with staff under their
             supervision.

          5. The Director of Treatment and Rehabilitation shall conduct quarterly
             quality assurance reviews to ensure that treatment plans are being
             completed, and that services are being provided and documented per
             policy.

          6. On-site QA Reviews of YS secure care facilities shall be conducted to
             provide Facility Directors with an objective, informative assessment of
             operational activities.




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           7. The QA Reviews shall be conducted on a frequency as determined by the
              Deputy Secretary, but at a minimum, annually for secure care facilities.

           8. The Correctional Program Checklist (CPC) is an evidence-based tool
              developed to assess correctional intervention programs. The CPC is used
              to ascertain how closely correctional programs meet the known “Principles
              of Effective Intervention”. (Refer to YS B.2.19).

               In an effort to assure program integrity and facilitate opportunities for
               ongoing quality improvement, YS shall conduct CPC evaluations under
               the following timelines:

               a. New programs shall be evaluated after one (1) year.
               b. Programs scoring “Ineffective” or “Needs Improvement” shall be
                  evaluated annually.
               c. Programs scoring “Effective” or “Highly Effective” shall be evaluated
                  every other year or more frequently at the discretion of the Chief of
                  Operations.


Previous Regulation/Policy Number: B.2.8
Previous Effective Date:     09/23/2021
Attachments/References:
                             B.2.8 (a) Behavior Improvement Plan April 2021
                             B.2.8 (b) TTU Referral Form August 2022
                             B.2.8 (c) TTU Behavioral Staffing Form August 2022
                             B.2.8 (d) Transfer Letter to Judge August 2022
                             B.2.8 (e) Parental Notification of Transfer August 2022
                             B.2.8 (f) Unified Behavior Plan for Youth with Special Needs (UBP) May
                             2018
                             B.2.8 (g) Behavioral Analysis Worksheet September 2021
                             B.2.8 (h) Transitional Treatment Unit (TTU) Handbook August 2022
                             B.2.8 (i) Transitional Treatment Unit (TTU) Youth Handbook August 2022
                             B.2.8 (j) TTU Youth Assignment Workbook August 2022
                             B.2.8 (k) TTU Placement Release Report August 2022
                             B.2.8 (l) Interim Behavior Activity Documentation September 2021
                             B.2.8 (m) Daily Participation Chart August 2022




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